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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11    JOSEPH VICTOR LAGANA,                   )      No. 2:21-cv-04860-DOC (JDE)
                                              )
12                     Petitioner,            )
                                              )      JUDGMENT
13                       v.                   )
                                              )
      SHERIFF VILLANUEVA OF LOS               )
14                                            )
      ANGELES, ATTORNEY GENERAL               )
15                                            )
      OF CALIFORNIA,
                                              )
16                                            )
                       Respondents.           )
17
18
            Pursuant to the Order Summarily Dismissing Action,
19
            IT IS ADJUDGED that the action is dismissed without prejudice.
20
21
22    Dated: November 1, 2021
23                                                ______________________________
24                                                DAVID O. CARTER
                                                  United States District Judge
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